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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA,                 §
                                          §
                                          §
V.                                        §          No. 3:08-cr-268-B (03)
                                          §
JOSE JUAN HERNANDEZ                       §
(BOP Register No. 38507-177),             §
                                          §
             Defendant.                   §

      FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
                UNITED STATES MAGISTRATE JUDGE

      Defendant Jose Juan Hernandez, a federal prisoner, currently incarcerated at

Oakdale II FCI, in Oakdale, Louisiana, has filed a pro se Motion to Order Nunc Pro

Tunc Designation and/or to Correct Judgment and Commitment to Reflect Correct

Sentence Computation [Dkt. No. 450]. United States District Judge Jane J. Boyle has

referred the motion to the undersigned United States magistrate judge for hearing, if

necessary, and recommendation or determination. See Dkt. No. 451.

      The undersigned issues the following findings of fact, conclusions of law, and

recommendation that the Court should deny Hernandez’s requested Federal Rule of

Criminal Procedure 36 relief with prejudice, and, because the Court lacks jurisdiction

to consider relief under 28 U.S.C. § 2241 as to Hernandez, the Court also should deny

his request that this Court order the Federal Bureau of Prisons (“BOP”) “to rectify his

sentencing computation to start ... the day of his original arrest,” Dkt. No. 450 at 7,

without prejudice to Hernandez’s reasserting that request in the district in which he


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is incarcerated.

                              Applicable Background

      Hernandez’s drug conspiracy guilty plea resulted in a sentence of 188 months’

imprisonment. See Dkt. No. 361. In the written judgment, the Court recommended

“placement in the Institution Residential Drug Abuse Treatment Program” and

“placement at FCI, Seagoville, Texas.” Id. at 2. But, during the sentencing hearing, the

Court also indicated that it would order Hernandez’s federal sentence to run

concurrently with an already-imposed California state sentence for the same offense.

See Dkt. No. 382 (sentencing hearing tr.) at 26-27.

              THE COURT: Is there anything else from the government?
              MR. GUESS: Your Honor, I would recommend that you order your
      sentence to run concurrent with the state sentence that Mr. Hernandez
      received in California that was pursuant to his plea of guilty on this same
      offense, so I think it would be appropriate.
              THE COURT: Yes. I appreciate that, and I can do that, I can order
      it to run concurrently with an already-imposed state sentence, and I will
      do so.
              THE DEFENDANT: Thank you.

Id.

      This pronouncement, however, was not incorporated into the written judgment.

      The Court’s judgment has been affirmed on appeal. See United States v.

Hernandez, 647 F.3d 216 (5th Cir. 2011) (finding no error in the denial of his

suppression motion). And Hernandez has been denied relief pursuant to 28 U.S.C. §

2255. See Hernandez v. United States, Nos. 3:12-cv-921-B-BK & 3:08-cr-268-B (03),

2013 WL 625752 (N.D. Tex. Jan. 29, 2013), rec. adopted, 2013 WL 632107 (N.D. Tex.

Feb. 20, 2013), aff’d, No. 13-10264 (5th Cir. Nov. 7, 2014).

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      Hernandez raised the concurrent-sentences issue during his Section 2255

proceeding. See Hernandez, 2013 WL 625752, at *5 (“In his Reply, Petitioner confirms

that his fourth ground does not raise a time-credit issue, but only challenges the trial

court’s failure to order that his federal sentence be served concurrently with his

California state sentence as discussed at sentencing.”). The Court found that, to the

extent that Hernandez was complaining of an error by the Court that could be

redressed in a Section 2255 proceeding, Hernandez had waived his right to contest his

conviction and sentence in collateral proceedings through his plea agreement, which

waiver he did not challenge as to voluntariness. See id.

      But the government did investigate the issue:

      Because the judgment was silent concerning whether the federal sentence
      was to run concurrently or consecutively to any other sentence, the
      [Assistant United States Attorney representing the government in the
      Section 2255 proceeding], in correspondence copied to the Court and
      Petitioner, communicated with the [BOP] to ensure that its records
      reflected the Court’s order to run the federal sentence concurrently with
      the California conviction. In response, the BOP explained that, because
      Hernandez was paroled from his California sentence on March 3, 2010 –
      prior to his federal sentencing – there was no undischarged state
      sentence with which his federal sentence could run. The BOP further
      stated that the Court might have considered a downward departure
      under USSG 5K2.23; however, its review of the record did not indicate
      that the Court intended to do so.

Hernandez v. United States, No. 3:12-cv-921-B-BK (N.D. Tex.), Dkt. No. 11

(government’s response to the magistrate judge’s findings of fact, conclusions of law,

and recommendation).

      In its order adopting the magistrate judge’s recommendation, the Court declined

“to treat its judgment providing for a concurrent sentence as a downward departure

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under USSG § 5K2.23.” Hernandez, 2013 WL 632107, at *1.

      The fact that Defendant was released from his state sentence before he
      was sentenced in this Court – leaving no undischarged term of
      imprisonment with which to run his federal sentence concurrent – does
      not justify such action. See United States v. Cibrian, 374 F. App’x 524,
      529-30 (5th Cir. 2010) (unpublished per curiam) (fact that
      concurrent-sentence order “is ‘impossible’ to fulfill stems not from an
      inherent flaw on the face of the court’s sentencing papers ... but from the
      very practical problems that arise in carrying out overlapping state and
      federal sentences in a dual sovereignty,” and amounts to nothing more
      than a “happenstance [that] does not render the sentence illegal.”); see
      also United States v. Labeille-Soto, 163 F.3d 93, 98 (2nd Cir. 1998) (once
      a state sentence is fully discharged it cannot be made to run concurrently
      with another sentence).

Id.

      Hernandez now seeks to amend the Court’s judgment “to reflect a reference to

its sentencing order that his sentences be ran concurrently” and also requests that the

Court “order the BOP to rectify his sentencing computation to start ... the day of his

original arrest.” Dkt. No. 450 at 7.

                          Legal Standards and Analysis

Federal Rule of Criminal Procedure 36

      “A district court does not have inherent authority to modify a previously imposed

sentence; it may do so only pursuant to statutory authorization. Methods of altering

a sentence after it has been entered include a direct appeal, a collateral attack under

28 U.S.C. §§ 2241 or 2255, a motion under 18 U.S.C. § 3582(c), and a motion under

Federal Rule of Criminal Procedure 36.” United States v. Martinez, No. 1:09-cr-74 TS,

2014 WL 2515315 (D. Utah June 4, 2014) (citations and internal quotation marks

omitted). Of these alternatives, “Rule 36 is the appropriate remedy to make the

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judgment and commitment papers conform to the sentence pronounced orally.” United

States v. Nunez, 168 F. App’x 653, 654 (5th Cir. 2006) (per curiam) (quoting Cook v.

United States, 426 F.2d 1358, 1360 (5th Cir. 1970)).

       Unlike, for example, correcting a sentence for clear error under Federal Rule of

Criminal Procedure 35(a), “[a] district court ‘may at any time correct a clerical error

in a judgment’ that arises from an ‘oversight or omission.’” United States v. Roth, 359

F. App’x 453, 454 (5th Cir. 2009) (per curiam) (quoting FED. R. CRIM. P. 36). “A clerical

error occurs when ‘the court intended one thing but by merely clerical mistake or

oversight did another.’” Id. (quoting United States v. Buendia-Rangel, 553 F.3d 378,

379 (5th Cir. 2008) (in turn quoting United States v. Steen, 55 F.3d 1022, 1026 n.3 (5th

Cir. 1995))).

       To the extent that the Court meant to reduce to writing its oral order that

Hernandez’s federal sentence run concurrently with an already-imposed California

state sentence for the same offense, and to the extent that the failure to include such

an order in the judgment was an oversight or omission, Rule 36 may provide the

appropriate remedy. But, because Hernandez’s state sentence was discharged prior to

his sentencing in this Court, as explained above, which left “no undischarged term of

imprisonment with which to run his federal sentence concurrent,” Hernandez, 2013 WL

632107, at *1, amending Hernandez’s judgment at this time makes no practical sense,

particularly since it appears that the BOP is very aware of the variance between the

oral sentence and the judgment as written. Cf. United States v. Shaw, 920 F.2d 1225,

1231 (5th Cir. 1991) (“In this Circuit, it is well settled law that where there is any

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variation between the oral and written pronouncements of sentence, the oral sentence

prevails.”).

Section 2241

       Hernandez also appears to request relief – that the BOP be ordered “to rectify

his sentencing computation to start ... the day of his original arrest,” Dkt. No. 450 at

7 – that this Court lacks jurisdiction to consider.

       “[C]laims related to time computations for federal sentences are properly

brought pursuant to [28 U.S.C.] § 2241.” United States v. Turro, No. 3:90-cr-323-B-BH

(02), 2009 WL 2596616, at *1 (N.D. Tex. Aug. 20, 2009) (citing Jeffers v. Chandler, 253

F.3d 827, 830 (5th Cir. 2001); United States v. Garcia-Gutierrez, 835 F.2d 585, 586 (5th

Cir. 1988)); see also Gallegos-Hernandez v. United States, 688 F.3d 190, 194 (5th Cir.

2012) (“Section 2241 is the proper procedural vehicle if a prisoner ‘challenges the

execution of his sentence rather than the validity of his conviction and sentence.’”

(quoting United States v. Cleto, 956 F.2d 83, 84 (5th Cir. 1992)).

       But “a federal prisoner who challenges the manner in which his or her sentence

is executed must file a § 2241 habeas petition in the district in which he or she is

incarcerated.” Turro, 2009 WL 2596616, at *1 (citing Lee v. Wetzel, 244 F.3d 370, 373-

75 (5th Cir. 2001)). This is because “[d]istrict courts are limited to granting habeas

relief ‘within their respective jurisdictions.’ 28 U.S.C. § 2241(a)” – language that the

United States Supreme Court has “interpreted ... to require ‘nothing more than that

the court issuing the writ have jurisdiction over the custodian.’” Rumsfeld v. Padilla,

542 U.S. 426, 442 (2004) (quoting Braden v. 30th Judicial Circuit Court of Ky., 410 U.S.

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484, 495 (1973)).

      Therefore, because Oakdale II FCI, where Hernandez is currently incarcerated,

is in Allen Parish, which is in the Western District of Louisiana, see 28 U.S.C. § 98(c),

to the extent that Hernandez’s motion requests relief cognizable under Section 2241,

the Court should deny the motion without prejudice to his right to seek such relief in

the district where he is incarcerated.

                                  Recommendation

      The Court should deny Hernandez’s requested Federal Rule of Criminal

Procedure 36 relief with prejudice and also should deny Hernandez’s request that this

Court order the Federal Bureau of Prisons (“BOP”) “to rectify his sentencing

computation to start ... the day of his original arrest,” Dkt. No. 450 at 7, without

prejudice to Hernandez’s reasserting that request in the district in which he is

incarcerated.

      A copy of these findings, conclusions, and recommendation shall be served on all

parties in the manner provided by law. Any party who objects to any part of these

findings, conclusions, and recommendation must file specific written objections within

14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b).

In order to be specific, an objection must identify the specific finding or

recommendation to which objection is made, state the basis for the objection, and

specify the place in the magistrate judge’s findings, conclusions, and recommendation

where the disputed determination is found. An objection that merely incorporates by

reference or refers to the briefing before the magistrate judge is not specific. Failure

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to file specific written objections will bar the aggrieved party from appealing the

factual findings and legal conclusions of the magistrate judge that are accepted or

adopted by the district court, except upon grounds of plain error. See Douglass v.

United Servs. Auto. Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).

      DATED: February 19, 2016




                                       _________________________________________
                                       DAVID L. HORAN
                                       UNITED STATES MAGISTRATE JUDGE




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